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          In the United States Court of Federal Claims
                                       No. 19-1796C

                                (E-filed: January 15, 2020)

                                            )
 AMAZON WEB SERVICES, INC.,                 )
                                            )
               Plaintiff,                   )
                                            )
 v.                                         )
                                            )
 THE UNITED STATES,                         )
                                            )
               Defendant,                   )
                                            )
 and                                        )
                                            )
 MICROSOFT CORP.,                           )
                                            )
               Intervenor-defendant.        )
                                            )

                                          ORDER

        On January 13, 2020, the parties filed a joint status report in which they propose a
briefing schedule for four motions: (1) plaintiff’s motion to supplement the
administrative record and/or for discovery; (2) defendant’s partial motion for dismissal;
(3) intervenor-defendant’s partial motion for dismissal; and (4) plaintiff’s motion for
temporary restraining order and/or preliminary injunction. See ECF No. 111. The court
notes that the parties have proposed that the court issue its ruling on plaintiff’s motion for
temporary restraining order and/or preliminary injunction on or before February 11,
2020. See id. at 3.

       The proposed dates are generally acceptable to the court, with one exception. At
the time the parties anticipate the conclusion of briefing on plaintiff’s motion for
temporary restraining order and/or preliminary injunction, the court will be preparing for
a three-week trial that is scheduled to begin on February 18, 2020. In light of the court’s
other pressing work, it must receive plaintiff’s reply in support of its motion for
temporary restraining order and/or preliminary injunction earlier than the proposed date.
The court, therefore, sets the following schedule:
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       January 17, 2020     Plaintiff shall FILE its motion to supplement the
                            administrative record and/or a motion for discovery

       January 22, 2020     Plaintiff shall FILE its motion for a temporary restraining
                            order and/or preliminary injunction (TRO/PI)

       January 24, 2020     Defendant and defendant-intervenor shall FILE their
                            partial motions for dismissal

       January 29, 2020     Defendant and defendant-intervenor shall FILE their
                            responses to plaintiff’s motion for TRO/PI

       January 31, 2020     Defendant and defendant-intervenor shall FILE their
                            responses to plaintiff’s motion to supplement the
                            administrative record and/or motion for discovery

       February 3, 2020     Plaintiff shall FILE its reply in support of its motion for
                            TRO/PI

       February 7, 2020     Plaintiff shall FILE its reply in support of its motion to
                            supplement the administrative record and/or motion for
                            discovery

       February 21, 2020 Plaintiff shall FILE its response to defendant’s and
                         defendant-intervenor’s partial motions for dismissal

       March 6, 2020        Defendant and defendant-intervenor shall FILE their
                            replies in support of their partial motions for dismissal

       Assuming the parties do not seek to modify the deadlines herein, the court will
endeavor to issue a ruling on the motion for temporary restraining order and/or
preliminary injunction by February 11, 2020.

        Also pending before the court is plaintiff’s unopposed motion for leave to file
video exhibits. See ECF No. 112. Therein, plaintiff requests permission to file video
exhibits in support of its forthcoming motions and also requests direction from the court
on the procedure for doing so. Plaintiff’s motion for leave to file video exhibits, ECF No.
112, is GRANTED. However, the court has determined that its case
management/electronic case filing (CM/ECF) system cannot presently accommodate
such filings. The court, therefore, directs plaintiff to PROVIDE the exhibits to the
clerk’s office on an external hard drive, along with DELIVERING two courtesy copies
of the external hard drive for chambers use. Plaintiff shall concurrently FILE a notice of
filing the supplemental external hard drives on the docket in this case through CM/ECF.

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IT IS SO ORDERED.

                                   s/Patricia E. Campbell-Smith
                                   PATRICIA E. CAMPBELL-SMITH
                                   Judge




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